EXHIBIT 5
                                                                                           RECEIVED
                                  NOTICE OF TERMINATION                                 JUL 2 0 2021
                                    "DOCTOR STRANGE"                                  ALAN BRAVERMAN



 To:   Marvel Entertainment, LLC                        Marvel Studios, LLC
       Marvel Worldwide, Inc.                           MVL Rights, LLC
       Marvel Property, Inc.                            MVL Development, LLC
       Marvel Characters, Inc.                          Marvel Characters, Inc.
       1290 Avenue of the Americas                      500 South Buena Vista Street
       New York, NY 10104                               Burbank, CA 91521
       Attn: John Turitzin, Chief Counsel               Attn: David Galluzzi, Chief Counsel
             Eli Bard, Deputy Chief Counsel

       The Walt Disney Company                          Marvel Animation Inc.
       500 South Buena Vista Street                     623 Circle Seven Drive
       Burbank, CA 91521                                Glendale, CA 91201
       Attn: Alan Braverman, General Counsel            Attn: Legal Department



        PLEASE TAKE NOTICE that pursuant to Section 304(c) of the United States Copyright

Act (l 7 U.S.C. § 304(c)) and the regulations issued thereunder by the Register of Copyrights, 37

C.F.R. § 201.10, Patrick S. Ditko, Administrator of the Estate of author Stephen J. Ditko, being

the person entitled to terminate copyright transfers by the author pursuant to said statutory

provisions, hereby terminates all pre-January 1, 1978 exclusive or non-exclusive grants of the

transfer or license of the renewal copyright(s) in and to the illustrated comic book stories, many of

which feature the character Doctor Strange (a.k.a. Dr. Stephen Strange), authored or co-authored

by Stephen J. Ditko (a.k.a. Steve Ditko), and published in the STRANGE TALES comic book

issues, all as set forth below:

        1.     The names and addresses of the grantees and/or successors in title whose rights are

being terminated are as follows: Marvel Entertainment, LLC, Marvel Worldwide, Inc., Marvel

Property, Inc., Marvel Characters, Inc. , 1290 Avenue of the Americas, New York, NY 10104;

Marvel Studios, LLC, MVL Rights, LLC, MVL Development, LLC, Marvel Characters, Inc., 500
South Buena Vista Street, Burbank, CA 91521; The Walt Disney Company, 500 South Buena

Vista Street, Burbank, CA 91521; and Marvel Animation Inc., 623 Circle Seven Drive, Glendale,

CA 91201. Pursuant to 37 C.F.R. Section 201. lO(d), service of this Notice is being made by First

Class Mail, postage pre-paid to the above grantees or successors at the addresses shown.
         2.      The copyrighted work(s) to which this Notice of Termination applies (individually,

"Work"; collectively, the "Works") are the illustrated comic book stor(ies), many of which feature

the character Doctor Strange (a.k.a. Dr. Stephen Strange), authored or co-authored by Stephen J.

Ditko (a.k.a. Steve Ditko) 1 along with all the characters, story elements, and/or indicia appearing

therein, which stories were published and embodied in the comic book issues identified as follows:

 Title                                 Co12yright Claimant2                  Date             Conyright
                                                                             Cogyright        Reg. No.
                                                                             Secured
 Stran_g_e Tales Vol. 1, No. 102       Vista Publications, Inc.              8/9/1962         B988507
 Stranf?e Tales Vol. 1, No. 103        Vista Publications, Inc.              9/11/1962        B992202
 Strang_e Tales Vol. 1, No. 104        Vista Publications, Inc.              10/9/1962        B999792

         1
          This Notice of Tennination also applies to all material authored or co-authored by Stephen J.
Ditko (in any and all medium(s), whenever created) that was reasonably associated with these Works and
was reg istered with the United States Copyright Office and/ or published within the termination time
window, as defined by 17 U.S.C. § 304(c) and the effective date of this Notice ofTermination. This Notice
of Termination likewise includes any character, story element, or indicia reasonably associated with these
Works, including, without limitation, Zakkim, Doctor Strange (a.k.a. Dr. Stephen Strange), Ancient One
(a.k.a. Yao), Baron Morda (a.k.a. Karl Morda), Hamir, Karl King, Harry Hook, Victoria Bentley, Sir Clive
Bentley, Wong, Nightmare, Dreamstalker, Spinybeast, Aggamon, Bill Brinkly, Allan Stevens, Gulgol,
Thor, Loki, Odin, Zota of Pergamum, Hamir the Hennit, Baron Mordo's Minions, Clea, G ' uranthic
Guardian, Dormammu, Orini, Demonicus, T iboro, Sen-Yu, Kaecilius, Nazaka, Shazana, Ubbu, Sir
Anthony Baskerville, Aged Genghis, The Demon of the Mask, Rama Kaliph, Abu Ben Hakim, Eternity,
the Mindless Ones, Adria (a.k.a. The Witch), Tazza, Asti the All-Seeing, Mister Rasputin (a.k.a. Pavel
Plotnick), Kaluu, and Hiram Barney. Every reasonable effort has been made to find and list herein all such
material. Nevertheless, if any such material has been omitted, such omission is unintentional and
involuntary, and this Notice also applies to each and every such omitted material.
         2
          Pursuant to 37 C.F.R. § 201.1 O(b)(l)(iii), this Notice of Termination includes the name of at least
one author of each Work to which this Notice of Termination applies. The listing herein of any corporation
as copyright claimant is done per Copyright Office records, and is not to be construed as an admission that
any given work is or was a "work made for hire," nor is anything else herein to be construed as any such
admission. Nothing contained in this Notice of Termination shall be construed to in any way limit or waive
any right or remedy that Patrick S. Ditko, as Administrator of the Estate of Stephen J. Ditko, may have, at
law or in equity, with respect to tile subject matter hereot: all of which is hereby expressly reserved.

                                                      2
Stranze Tales Vol. l , No. 105    Vista Publications, Inc.    11 /8/1962   B6037
Stranze Tales Vol. 1, No. 106     Vista Publications, Inc.   12/10/1962    B12120
Stranf.!e Tales Vol. 1, No. 107   Vista Publications, Inc.   1/10/1963     Bl 7484
Stranze Tales Vol. 1, No. 108     Vista Publications, Inc.   2/12/1963     B22022
Stranze Tales Vol. 1, No. 109     Vista Publications, Inc.   3/12/1963     B28143
Stranf{e Tales Vol. 1, No. 111    Vista Publications, Inc.   5/9/1963      B38264
Stranf!e Tales Vol. 1, No. 112    Vista Publications, Inc.   6/11/1963     B45565
Stranze Tales Vol. 1, No. 113     Vista Publications, Inc.   7/9/1963      B51854
Stran}!e Tales Vol. 1, No. 114    Vista Publications, Inc.   8/8/1963      B57888
Stranze Tales Vol. 1, No. 115     Vista Publications, Inc.   9/10/1963     B66036
Stranze Tales Vol. 1, No. 116     Vista Publications, Inc.   10/8/1963     B66782
Stranf!e Tales Vol. 1, No. 117    Vista Publications, Inc.   11/12/1963    B72341
Stranze Tales Vol. 1, No. 118     Vista Publications, Inc.   12/9/1963     B79628
Stranf{e Tales Vol. 1, No. 119    Vista Publications, Inc.   1/10/1964     B86103
Stran5<e Tales Vol. 1, No. 120    Vista Publications, Inc.   2/11/1964     B93261
Stranze Tales Vol. 1, No. 121     Vista Publications, Inc.   3/10/1964     B96828
Stran}!e Tales Vol. 1, No. 122    Vista Publications, Inc.   4/9/1964      B102931
Stramze Tales Vol. 1, No. 123     Vista Publications, Inc.   5/12/1964     B112132
Stran5<e Tales Vol. 1, No. 124    Vista Publications, Inc.   6/9/1964      B127512
Stranze Tales Vol. 1, No. 125     Vista Publications, Inc.   7/9/1964      B121798
Stranf{e Tales Vol. 1, No. 126    Vista Publications, Inc.   8/11/1964     B129014
Stranf{e Tales Vol. 1, No. 127    Vista Publications, Inc.   9/8/1964      B136445
Stranze Tales Vol. 1, No. 128     Vista Publications, Inc.   10/8/1964     B140634
Stran2e Tales Vol. 1, No. 129     Vista Publications, Inc.   11/10/1964    B147181
Stranze Tales Vol. 1, No. 130     Vista Publications, Inc.   12/10/1964    B157772
Stranze Tales Vol. 1, No. 131     Vista Publications, Inc.   1/12/1965     B162016
Stranze Tales Vol. 1, No. 132     Vista Publications, Inc.   2/11/1965     B167564
Stran5<e Tales Vol. 1, No. 133    Vista Publications, Inc.   3/11/1965     B173315
Stramze Tales Vol. 1, No. 134     Vista Publications, Inc.   4/8/1965      Bl 79809
Stranze Tales Vol. 1, No. 135     Vista Publications, Inc.   5/4/1965      B190436
Stranf.!e Tales Vol. 1, No. 136   Vista Publications, Inc.   6/8/ 1965     B196229
Stranze Tales Vol. 1, No. 137     Vista Publications, Inc.   7/8/1965      B200686
Stranze Tales Vol. 1, No. 138     Vista Publications, Inc.   8/10/1965     B208272
Stranf.!e Tales Vol. 1, No. 139   Vista Publications, Inc.   9/9/1965      B215981
Stranze Tales Vol. 1, No. 140     Vista Publications, Inc.   10/12/1965    B229414
Stran5<e Tales Vol. 1, No. 141    Vista Publications, Inc.   11/11/1965    B229431
Stranze Tales Vol. 1, No. 142     Vista Publications, Inc.   12/9/1965     B238352
Stranf:[e Tales Vol. 1, No. 143   Vista Publications, Inc.   1/11/1966     B241519
Stranf!e Tales Vol. 1, No. 144    Vista Publications, Inc.   2/10/1966     B248225
Stranze Tales Vol. 1, No. 145     Vista Publications, Inc.   3/10/1966     B251650
StranQe Tales Vol. 1, No. 146     Vista Publications, Inc.   4/12/1966     B257744
Stranze Tales Vol. 1, No. 147     Vista Publications, Inc.   5/10/1966     B277438


      3.      The express or implied grant(s) and/or transfer(s) to which this Notice of

                                               3
Termination applies was (were) made in that (those) certain copyright assignment(s) on the back

of the check(s) issued by Marvel Entertainment, LLC's ("Marvel") predecessor company(ies) to

Stephen J. Ditko, with respect to the above-listed Works, w hich was (were) dated on or about the

time of the respective publication of such Works, as well as any other grant(s) regarding the Works
by Stephen J. Ditko to Marvel's predecessor(s).3

        4.      The effective date of termination for each respective Work shall be July 17, 2023.

        5.      Stephen J. Ditko died on June 29, 2018, with no surviving spouse, children or

grandchildren. Patrick S. Ditko, as Administrator of the Estate of Stephen J. Ditko, owns the

termination interest of Stephen J. Ditko pursuant to 17 U.S.C. § 304(c)(2)(D), and is the person

entitled to exercise the termination right as to the grant(s) identified herein. This Notice has been

signed by all persons needed to terminate said grant(s) under 17 U.S.C. § 304(c).


Dated: July 16, 2021                                  TOBEROFF & ASSOCIATES, P.C.



                                                      Marc Toberoff

                                                      23823 Malibu Road, Suite 50-363
                                                      Malibu, California 90265
                                                      Tel: (310) 246-3333
                                                      As counsel for and on behalf of Patrick S. Ditko,
                                                      Administrator of the Estate of Stephen J. Ditko




        3
          This Notice of Termination also applies to each and every grant or alleged grant by Stephen J.
Ditko ofrights under copyright in and to the Works that falls within the applicable termination time window
(defined by 17 U.S.C. § 304(c) and the effective date of this Notice of Termination). Every reasonable effort
has been made to find and list herein every such grant and/or transfer. Nevertheless, if any such grant and/or
transfer has been omitted, such omission is unintentional and involuntary, and this Notice of Termination
applies as well to each and every such omitted grant and/or transfer.
                                                      4
                                CERTIFICATE OF SERVICE

       I hereby certify that I caused a true copy of the foregoing document described as

NOTICE OF TERMINATION to be served this 16th day ofJuly, 2021, by First Class Mail,

postage prepaid, upon each of the following:

       Marvel Entertainment, LLC                          Marvel Studios, LLC
       Marvel Worldwide, Inc.                             MVL Rights, LLC
       Marvel Property, Inc.                              MVL Development, LLC
       Marvel Characters, Inc.                            Marvel Characters, Inc.
       1290 Avenue of the Americas                        500 South Buena Vista Street
       New York, NY 10104                                 Burbank, CA 91521
       Attn: John Turitzin, Chief Counsel                 Attn: David Galluzzi, Chief Counsel
             Eli Bard, Deputy Chief Counsel

       The Walt Disney Company                            Marvel Animation Inc.
       500 South Buena Vista Street                       623 Circle Seven Drive
       Burbank, CA 91521                                  Glendale, CA 91201
       Attn: Alan Braverman, General Counsel              Attn: Legal Department



       I declare under penalty of perjury that the foregoing is true and correct. Executed this 16th

day of July, 2021, at Malibu, California.




                                               Breck Kadaba
                                               Toberoff & Associates, P.C.
                                               23823 Malibu Road, Suite 50-363
                                               Malibu, California 90265

                                               Counsel for Patrick S. Ditko,
                                               Administrator of the Estate of Stephen J. Ditko




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